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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE



SOVEREIGN PEAK VENTURES, LLC         )
                                     )
                 Plaintiff,          )
                                     )
     v.                              )     Civil Action No. 1:19-cv-00667-MN
                                     )
ANKER INNOVATIONS TECHNOLOGY         )     JURY TRIAL DEMANDED
CO., LTD. and ANKER TECHNOLOGY       )
CORPORATION,                         )
                                     )
                 Defendants.         )
                                     )



          FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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       Plaintiff Sovereign Peak Ventures, LLC (“SPV” or “Plaintiff”), by and through the

undersigned counsel, hereby brings this action and makes the following allegations of patent

infringement relating to U.S. Patent Nos. 6,577,073 (“the ’073 patent”) and 7,204,607 (“the ’607

patent”), (collectively “the Asserted Patents”) against Defendants Anker Innovations Technology

Co., Ltd. and Anker Technology Corporation (collectively, “Anker”) and alleges as follows upon

actual knowledge with respect to itself and its own acts, and upon information and belief as to all

other matters:

                                   NATURE OF THE ACTION

      1.         This is an action for patent infringement. SPV alleges that Anker has infringed

and/or is infringing the Asserted Patents, copies of which are attached as Exhibits A-B.

      2.         SPV alleges that Anker directly infringes and/or has infringed the Asserted

Patents by making, using, offering for sale, selling, and/or importing various models of LED

bulbs. SPV seeks damages and other relief for Anker’s infringement of the Asserted Patents.

                                           THE PARTIES

      3.         Plaintiff SPV is a Texas limited liability company with its principal place of

business in Plano, Texas.

      4.         Upon information and belief, Defendant Anker Innovations Technology Co., Ltd.

is a Chinese corporation based in Changsha City, China.

      5.         Upon information and belief, Defendant Anker Technology Corporation is a

corporation organized and existing under the laws of the State of Delaware, with a place of

business at 113 Barksdale Professional Center, Newark, Delaware 19711 and can be served

through its registered agent, Business Filings Incorporation, 108 West 13th Street, Wilmington,

Delaware 19801.




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                                 JURISDICTION AND VENUE

       6.       This Court has exclusive subject matter jurisdiction over this case pursuant to 28

U.S.C. §§ 1331 and 1338(a) on the grounds that this action arises under the Patent Laws of the

United States, 35 U.S.C. § 1 et seq., including, without limitation, 35 U.S.C. §§ 271, 281, 284,

and 285.

       7.       This Court has personal jurisdiction over Anker on the grounds that the Anker

U.S. entities are organized in this State and that all Anker defendants have committed infringing

acts in this State.

       8.       Venue is proper in this Court pursuant to 28 U.S.C. § 1400(b) on the grounds that

the Anker U.S. entities are organized in this State and that all Anker defendants have committed

infringing acts in this State.

                      COUNT I – INFRINGEMENT OF THE ’073 PATENT

        9.      Plaintiff realleges and incorporates by reference the allegations of paragraphs 1-5

set forth above, as if set forth verbatim herein.

        10.     SPV owns by assignment the entire right, title and interest in the ’073 patent.

        11.     The ’073 patent was issued by the United States Patent and Trademark Office on

June 10, 2003 and is titled “LED Lamp.” A true and correct copy of the ’073 patent is attached

as Exhibit A.

        12.     Upon information and belief, Anker has directly infringed at least claim 1 of the

’073 patent by making, using, testing, selling, offering for sale and/or importing in the United

States without authority devices such as the Anker Eufy Lumos Smart Bulb – White & Color

(collectively “the Accused Infringing Devices”) in an exemplary manner as described below.

        13.     The Accused Infringing Devices are LED lamps.




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       14.     The Accused Infringing Devices have a blue LED for producing an emission

wavelength falling within a blue wavelength range. Exemplary blue LEDs, which are covered in

a yellow phosphor, are shown circled in red in the figures below.




       15.     The Accused Infringing Devices have a red LED for producing an emission at a

wavelength falling within a red wavelength range.




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        16.      The Accused Infringing Devices have a phosphor that has been photoexcited by

the blue LED to exhibit a luminescence having an emission spectrum in an intermediate

wavelength range between the blue and red wavelength ranges.




        17.      Anker has thus infringed at least claim 1 of the ’073 patent by making, using,

testing, selling, offering for sale and/or importing the Accused Infringing Devices.

        18.      Anker’s acts of direct infringement have caused damage to SPV, and SPV is

entitled to recover damages sustained as a result of Anker’s wrongful acts in an amount subject

to proof at trial.




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                       COUNT II – INFRINGEMENT OF THE ’607 PATENT

       19.      Plaintiff realleges and incorporates by reference the allegations of paragraphs 1-5

set forth above, as if set forth verbatim herein.

       20.      SPV owns by assignment the entire right, title and interest in the ’607 patent.

       21.      The ’607 patent was issued by the United States Patent and Trademark Office on

April 17, 2007 and is titled “LED Lamp.” A true and correct copy of the ’607 patent is attached

as Exhibit B.

       22.      Upon information and belief, Anker has directly infringed at least claim 9 of the

’607 patent by making, using, testing, selling, offering for sale and/or importing in the United

States without authority devices such as the Anker Eufy Lumos Smart Bulb – White & Color

(collectively the “Accused Infringing Devices”) in an exemplary manner as described below.

       23.      The Accused Infringing Devices are Light emitting diodes (LEDs).




       24.      The Accused Infringing Devices contain a substrate, a cluster of LEDs, which are

arranged two-dimensionally on the substrate and an interconnection circuit which is electrically

connected to the LEDs.




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       25.     The Accused Infringing Devices contain LEDs where a first group of LEDs,

which are located around the outer periphery of the cluster, and a second group of LEDs, which

are located elsewhere in the cluster (e.g., toward the center).




       26.     The Accused Infringing Devices contain an interconnection circuit wherein the

interconnection circuit has an interconnection structure for separately supplying drive currents to



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at least one of the LEDs in the first group and to at least one of the LEDs in the second group

separately from each other. One or more of the LEDs in the outer periphery can be operated

independently of one or more LEDs located toward the center.




       27.     The emission of the LEDs from the first group in the Accused Infringing Devices

has a lower color temperature than that of the LEDs in the second group.




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        28.      Anker has thus infringed at least claim 9 of the ’607 patent by making, using,

testing, selling, offering for sale and/or importing the Accused Infringing Devices.

        29.      Anker’s acts of direct infringement have caused damage to SPV, and SPV is

entitled to recover damages sustained as a result of Anker’s wrongful acts in an amount subject

to proof at trial.

                                     PRAYER FOR RELIEF

        WHEREFORE, SPV, respectfully prays that the Court enter judgment in its favor and

against the Anker defendants as follows:

                a.       A judgment that Anker has infringed the ’073 patent;

                b.       A judgment that Anker has infringed the ’607 patent;

                c.       A judgment that SPV be awarded damages adequate to compensate it for

Anker’s past infringement and any continuing or future infringement of the ’073 patent and

the ’607 patent, including pre-judgment and post-judgment interest costs and disbursements as

justified under 35 U.S.C. § 284 and an accounting;

                d.       That this be determined to be an exceptional case under 35 U.S.C. § 285;

                e.       That SPV be granted its reasonable attorneys’ fees in this action;

                f.       That this Court award SPV its costs; and

                g.       That this Court award SPV such other and further relief as the Court

deems proper.

                                  DEMAND FOR JURY TRIAL

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, SPV demands a trial by

jury for all issues so triable.




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Dated: April 19, 2019                         Respectfully submitted,

                                              /s/ Stamatios Stamoulis
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